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                           IN T H E UNITED STATES DISTRICT C O U R T
                                  NORTHERN DISTRICT O F TEXAS
                                            DALLAS DIVISION


WESTERN HEALTHCARE, LLC,                             §
                                                     §
        Plaintiff,                                   §
                                                     §
v.                                                   §
                                                     §
NATIONAL FIRE AND MARINE                             §
INSURANCE COMPANY,                                   §             N O . 3:16-CV-00565-L
H E A L T H C A R E LIABILITY                        §
S O L U T I O N S , INC., T H E M E D I C A L        §
PROTECTIVE           COMPANY,                        §
B E R K S H I R E H A T H A W A Y INC., R A J        §
M E H T A , A N D T H O M A S M E I E R ANT,         §
                                                     §
        Defendants.                                  §

              D E F E N D A N T H E A L T H C A R E L I A B I L I T Y SOLUTIONS, INC.'S
                          M O T I O N T O D I S M I S S U N D E R F R C P 12(B)(6)


TO T H E HONORABLE COURT:


        Defendant Healthcare Liability Solutions, Inc. ("HLS") files this Motion to Dismiss

under Rule 12(b)(6).

             I.   F R C P 12(B)(6) C H A L L E N G E S T O W E S T E R N ' S C L A I M S AGAINST H L S


        Plaintiff Western Healthcare, LLC's ("Western") Original Petition [Doc. 1-3] broadly

asserts four causes of action against " A L L DEFENDANTS" for negligence, alleged violations of

the Texas Insurance Code (Chapters 541 and 542), and alleged violations of the Texas'

Deceptive Trade Practices Act. HLS moves to dismiss all claims against it because Western has

failed to state any claims against HLS upon which relief can be granted. See                    FED.R.CIV.PRO.


12(b)(6).




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        Western failed to include factual allegations that plausibly suggest a claim for relief

against HLS in support of its claims, including Count I I I (alleged Texas Insurance Code Chapter

541 violations), Count IV (alleged Texas Insurance Code Chapter 542 violations), Count V

(alleged Texas DTPA violations), and Count V I (negligence allegations). [Doc 1-3 at | f 8-12].

Moreover, Western's conclusory allegations and formulaic recitation of alleged statutory

violations does not state any claims upon which relief can be granted. Thus, Westerns' claims

should be dismissed with prejudice.

        Furthermore, Western's claims in Count V I I (exemplary damages) and Count V I I I

(attorney's fees) require Western to prevail on a claim for affirmative relief as a predicate to

recovery. These claims automatically fail since Western's claims against HLS are unsupported.

Based upon the foregoing, a dismissal of all claims asserted against HLS is proper under FRCP

12(b)(6).

                                                II.   PRAYER


        HLS requests that the Court grant its Motion to Dismiss under Rule 12(b)(6)and dismiss

Western's claims against it with prejudice, and for any other relief to which HLS may be

entitled.




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                                                  Respectfully submitted,

                                                  THOMPSON, COE, COUSINS & IRONS, L.L.P.

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                                      CERTIFICATE OF SERVICE


      This is to certify that on March 7, 2016, a true and correct copy of the foregoing was sent
via ECF electronic service to the following counsel of record:

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